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                         IN THE UNITED STATES DISTRICT COURT                             APR 1 8 2016
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA                       u.、                画
                                     ASHEVILLE DIVISION                                     簡 翼暮 記

                                    DOCKET NO.1:15CRl12

UNITED STATES OF AMERICA,

                       Plainti五
                                                            CONSENT ORDER AND
               V.                                         JUDGMENT OF FORFEITURE
3)DEVONTAE DAYSHAWN PERRY,
                       Defendant.



        WHEREAS, the defendant. DEVONTAE DAYSHAWN PERRY. has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Fed. R. Crim. P. l1 to one or more criminal offenses under which forfeiture may
be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the oft-enses, or any property traceable to such property;
and./or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 21 U.S.C. $ 853(p) and Fed. R. Crim. P . 32.2(e); and is therefore subject
to tbrfeiture pursuant to 18 U.S.C. $ 981(aXl), 28 U.S.C. 5 2461, and 18 U.S.C. g 1956(c)(7),
provided. how'ever, that such tbrfeiture is subject to any and all third party claims and interests,
pending final adjudication herein;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim. P. 32.2
regarding notice of the tbrfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

        WHEREAS, pursuant to Fed. R. Crim. P.32.2(b)(l) & (c)(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded
guilty and that the defendant has a legal or possessory interest in the property;

        WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding conceming any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives all
right to do so. If any administrative fbrfeiture or civil forfeiture proceeding concerning any of the
property described below has previously been stayed, the def-endant hereby consents to a lifting of




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the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

        NOW, THEREFORE. IT IS HEREBY ORDERED THAT:

        The following property is tbrfeited to the United States:

            o A personal money judgment in forfeiture in the amount of $59,700.79, which
                sum represents proceeds obtained, directly or indirectly, from the offenses
                pleaded to, jointly and severally with Malik Hideo McCrary, Maurice Angelo
                Pearce, Jr., and Lonnie J. Moton.

        The personal money judgment in forfeiture shall be included in the sentence of the
defendant, and the United States Department of .Iustice may take steps to collect the judgment
tiom any property, real or personal, of the defendant, in accordance with the substitute asset
provisions of 21 U.S.C. $ 853(p).

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

       Upon the seizure of any property to satisfy all or part of the judgment, if and to the extent
required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n), and/or other applicable law, the
United States shall publish notice and provide direct written notice of this forf-eiture.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

       Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order of Forfeiture, the United
States Attomey's Office is authorized to conduct any discovery needed to identify, locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas, pursuant to Fed. R. Civ. P. 45.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P.32.2(b)(4XA), the defendant consents that
this order shall be final as to defendant upon filing.
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SO AGREED:




                 YSHAWN PERRY
Defendant


    V
Attorney for Defendant




       Signed this the lfrAa^v   or h?r,' f ,2016.



                                   United States Magistrate Judge
                                   Westem District of North Carolina
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